  Case 2:21-cv-01234-APG-EJY Document 1-13 Filed 06/30/21 Page 1 of 6




                         Exhibit 11/TE 930

May 17, 2019 opinion letter for Celexus, Inc. – Masterful Consulting,
         LLC with Elaine Dowling’s electronic signature
      Case 2:21-cv-01234-APG-EJY Document 1-13 Filed 06/30/21 Page 2 of 6




                                            May 17, 2019

Transhare
15500 Roosevelt Blvd..
Suite 302
Clearwater, FL 33760

Re:    Celexus, Inc. –Masterful Consulting, LLC

Dear Gentlemen:

This firm has been retained to issue to you this opinion and analysis with respect to Fifty
Thousand (50,000) shares of common stock (the “Shares”) of Celexus, Inc., Inc., a Nevada
corporation (the “Company” or “Celexus”), to be issued to Masterful Consulting, LLC
(“Seller”).

The Securities Act of 1933 (“Securities Act”), Section 4(a)(1) provides an exemption for a
transaction "by a person other than an issuer, underwriter, or dealer." Rule 144 provides a non-
exclusive safe harbor for the sale of securities under Rule 4(a)(1), however, in the event that Rule
144 is unavailable a holder of securities may still rely upon Rule 4(a)(1). This opinion letter
speaks to the issuance of unaffiliated unrestricted securities by Seller.

As counsel, we have examined such matters of fact and questions of law as we have considered
appropriate for purposes of this letter. We have relied upon reports filed with the SEC in
compliance with the Securities Exchange Act of 1934, as amended, and with the OTC Markets,
without having independently verified such factual matters. We are opining herein as to the
federal securities law, we express no opinion with respect to the applicability thereto, or the
effect thereon, of the laws of any other jurisdiction or as to any matters of municipal law or the
laws of any local agencies within any state.

We have relied upon the following additional information in rendering our opinion:

1. The information set forth above is true and correct.
2. Seller is the true and valid holder of the Shares.
3. Seller is deemed to have held the Shares since at least January 18, 2017.
4. Seller is not an officer, director, owner of ten percent (10%) or more of the outstanding capital
stock of the Company or, or an affiliate of, the Company (nor been so designated during the

                                                                                         EXHIBIT
                                                                                                       exhibitsticker.com




                                   8275 S. Eastern Ave. Suite 200
                                       Las Vegas, NV 89123
                                   Email: ead@eadlawgroup.com                                930
                                           702-761-6769
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      Case 2:21-cv-01234-APG-EJY Document 1-13 Filed 06/30/21 Page 3 of 6




three (3) months immediately preceding the date hereof), as defined in paragraph (a) of Rule
144.
5. None of the Shares are subject to any stop-order, lock-up, or any agreement granting any
pledge, lien, mortgage, hypothecation, security interest, charge, option, encumbrance, or lock-up.
6. Seller has no knowledge of, and is not in possession of, material non-public information
relating to the Company.

Discussion:

Section 4(a)(1) of the Securities Act of 1933, as amended, provides an exemption for a
transaction "by a person other than an issuer, underwriter, or dealer." The following discussion
considers the definitions of issuers, underwriters and dealers, as well as the nature of Seller, and
opines on whether or not Seller falls into any such categories.

Seller is not the Issuer

Section 2(a)(4) of the Securities Act defines an “issuer” as any person who issues or proposes to
issue any security. Seller is not an issuer; rather, the Company is the issuer.

Seller is not an Affiliate

Rule 405 defines an “affiliate” as a “person that directly, or indirectly through one or more
intermediaries, controls or is controlled by, or is under common control with the person
specified.” “Control” means the “possession, direct or indirect, of the power to direct or cause
the direction of the management and policies of a person, whether through the ownership of
voting securities, by contract, or otherwise.” Seller owns less than 10% of the outstanding
securities, and Seller is not an officer, director, or employee of the Company. Thus, Seller is not
an affiliate of the Company.

Seller is not an Underwriter

Section 2(a)(11) of the Securities Act defines an “underwriter” as any person who has purchased
from an issuer with a view to, or offers or sells for an issuer in connection with, the distribution
of any security, or participates or has a direct or indirect participation in any such undertaking, or
participates or has a participation in the direct or indirect underwriting of any such undertaking.
The key element in the analysis as to whether or not SELLER is an underwriter is whether the
Shares were purchased with a view to participate in or engage in a “distribution” of the
Company’s securities. Distribution is not defined by the Securities Act, but is essentially
synonymous with “public offering.” Therefore, the first prong of analysis is whether a nonpublic
offering can be shown to have been made by the Company. In such a case, the possibilities are
diminished that SELLER’s subsequent sale of the Shares would be considered a distribution and
that SELLER would be deemed an underwriter. The second prong of analysis is whether
SELLER acquired the Shares “from [the] issuer with a view to” engage in a “distribution.”

Company’s Offering is Non-Public



                                                  2
     Case 2:21-cv-01234-APG-EJY Document 1-13 Filed 06/30/21 Page 4 of 6




Section 4(a)(2), applicable to issuers, exempts from the registration requirements under the
Securities Act, “transaction(s) by an issuer not involving a public offering.” In the determination
of whether or not the Original Issuance is a “public offering,” I rely upon the factors set-out by
SEC v. Ralston Purina Co., 346 U.S. 119 (1953) and its progeny, namely, Doran v. Petroleum
Management Corp., 545 F.2d 893, 900 (5th Cir. 1977) and Hill York Corp. v. American Int’l
Franchises, Inc., 448 F.2d 680, 687-689 (5th Cir. 1971), and Securities Act Release No. 4552
(November 6, 1962). Those cases and releases set out relevant factors in determining whether an
offering is public of private, including: (1) the number of offerees and their relationship to each
other and to the issuer, (2) the number of units offered, (3) the size of the offering, and (4) the
manner of the offering. I also rely on the factors set out in Cook v. Avien, Inc., 573 F.2d 685,
691 (1st Cir. 1978), wherein the court held that sales may be exempted if a private offering is
made in which the purchasers, (1) are limited in number, (2) are sophisticated, (3) have a
relationship with the issuer enabling them to command access to information that would
otherwise be contained in a registration statement.

SELLER acquired the Shares upon conversion of a promissory note a portion of which was
assigned to it. The promissory note was originally dated January 18, 2017.

Accordingly, SELLER is deemed to have held the Shares since at least January 18, 2017. These
factors, in light of one another and as a whole, lead me to conclude and opine that the issuances
of the Shares to SELLER were nonpublic transactions and did not amount to a public offering.

Acquisition from Issuer with a View to Distribution

The second prong of analysis focuses on whether SELLER acquired the Shares from the
Company with a view to engage in a “distribution.” A key factor used in the determination of
whether or not SELLER acquired the Shares with a view to engage in a distribution is the
determination of whether or not the Shares have “come to rest” with SELLER, rather than the
factual determination that SELLER is merely a conduit through which the issuer is making a
public offering. A key factor in this determination is the timeframe in which SELLER has held
the Shares.

This factor and its relevancy was highlighted in Ackerberg v. Johnson, 892 F.2d 1328 (8th Cir.
1989) when the court there stated, “We begin by considering whether the securities were
acquired by Johnson with a view to their distribution…While this determination would at first
seem to be a fact-specific inquiry into the security holder’s subjective intent at the time of
acquisition, the courts have considered the more objective criterion of whether the securities
have come to rest. That is, the courts look to whether the security holder has held the
securities long enough to negate any inference that his intention at the time of acquisition was
to distribute them to the public.” (emphasis added). The court then went on to define when the
securities had been held long enough to negate the inference of a distribution by citing United
States v. Sherwood, 175 F.Supp. 480, 483 (S.D.N.Y. 1959), “The passage of two years before
the commencement of distribution of any of these shares is an insuperable obstacle to my finding
that Sherwood took these shares with a view to distribution thereof.” The Ackerberg court also
highlighted the two year holding period under the then Rule 144 (as further discussed below, this



                                                 3
      Case 2:21-cv-01234-APG-EJY Document 1-13 Filed 06/30/21 Page 5 of 6




two year holding period has been reduced in the Rule 144 as amended on February 15, 2008)
promulgated under the Securities Act of 1933, as amended (“Rule 144”) and stated, “Many
courts have accepted a two-year rule of thumb to determine whether the securities have come to
rest…This two-year rule has been incorporated by the SEC into Rule 144, which provides a safe
harbor for persons selling restricted securities acquired in a private placement.”

As to the second prong of analysis, SELLER paid the full consideration for the Shares on or
before January 18, 2017, and acquired an economic interest in the Shares. SELLER is not an
affiliate, has not been an affiliate in the prior 90 days, and is deemed to have held the economic
interest in the Shares since at least January 18, 2017, which was more than two (2) years ago.
Although Rule 144 is not applicable to the Shares due to the sole fact that a factual determination
of whether or not the Company ever was a “shell company” as such term is outlined in Rule 144
may not realistically be obtainable or feasible, as reasoned by the Ackerman court, the time
element in Rule 144 safe harbor provides some guidance into the determination of whether or not
the Shares have “come to rest.” Rule 144, as amended on February 15, 2008, allows a safe
harbor from Section 4(a)(1) in situations where a shareholder has held shares: (i) for a period
exceeding six months where the issuer is subject to and current in its reporting requirements of
section 13 or 15(d); or (ii) for a period exceeding twelve months where the issuer is not subject
to and/or not current in its reporting requirements of section 13 or 15(d), therefore, if Rule 144
were applicable, SELLER would be required to hold the shares for a period exceeding six
months. The fact that SELLER has held the Shares for a period in excess of two (2) years, and
the Shares had accordingly come to rest in the control of SELLER, provides ample evidence that
he was holding the Shares for his own account and did not purchase the Shares “from the issuer
with a view to” engage in a “distribution.” Therefore, as the Shares were issued to SELLER in a
nonpublic transaction, and he was holding the Shares for his own account, SELLER should not
be deemed an underwriter under the Securities Act.



SELLER is Not a Dealer

Section 2(a)(12) of the Securities Act defines a dealer as a person who engages for all or part of
their time, directly or indirectly, as agent, broker or principal in the business of offering, buying,
selling or otherwise dealing or trading in the securities of another person. Based upon my
investigation, I have determined that SELLER is not engaged in the business of offering, buying,
selling, or otherwise dealing or trading in securities issued by another person, with respect to the
Shares. In this instance, the Shares were issued to SELLER solely in exchange for cash, as
described in this opinion, and were represented to be held and acquired for his own account.
Thus, SELLER has not acted as a dealer with respect to the Shares.

Conclusion:

By virtue of the foregoing, we are of the opinion that the Shares held by SELLER, under the
circumstances set forth above, may be sold immediately in a public market or by private transfer
by SELLER without registration under the Act in reliance on the Section 4(a)(1) exemption from




                                                  4
      Case 2:21-cv-01234-APG-EJY Document 1-13 Filed 06/30/21 Page 6 of 6




registration and need not bear a restrictive legend pertaining to any sale or disposition of said
shares.

Our opinions are subject to: (i) the effect of bankruptcy, insolvency, reorganization, fraudulent
transfer, moratorium or other similar laws relating to or affecting the rights and remedies of
creditors; (ii) the effect of general principles of equity, whether considered in a proceeding in
equity or at law (including the possible unavailability of specific performance or injunctive
relief), concepts of materiality, reasonableness, good faith and fair dealing, and the discretion of
the court before which a proceeding therefor may be brought; (iii) the invalidity under certain
circumstances under law or court decisions of provisions providing for the indemnification of or
contribution to a party with respect to a liability where such indemnification or contribution is
contrary to public policy; and (iv) we express no opinion with respect to: (a) provisions for
liquidated damages, default interest, late charges, monetary penalties, make-whole premiums or
other economic remedies to the extent such provisions are deemed to constitute a penalty, (b)
consents to, or restrictions upon, governing law, jurisdiction, venue, arbitration, remedies or
judicial relief, (c) any provision requiring the payment of attorneys’ fees, where such payment is
contrary to law or public policy, (d) advance waivers of claims, defenses, rights granted by law,
or notice, opportunity for hearing, evidentiary requirements, statutes of limitation, trial by jury or
at law, or other procedural rights, (e) waivers of broadly or vaguely stated rights, (f) provisions
for exclusivity, election or cumulation of rights or remedies, (g) provisions authorizing or
validating conclusive or discretionary determinations, (h) proxies, powers and trusts, (i)
provisions prohibiting, restricting, or requiring consent to assignment or transfer of any right or
property and (j) the severability, if invalid, of provisions to the foregoing effect.

We have assumed (a) that all of the documents referenced herein (collectively, the “Documents”)
have been duly authorized, executed and delivered by the parties thereto, (b) that the Documents
constitute legally valid and binding obligations of the parties thereto, enforceable against each of
them in accordance with their respective terms, and (c) that the status of the Documents as legally
valid and binding obligations of the parties is not affected by any (i) breaches of, or defaults under,
agreements or instruments, (ii) violations of statutes, rules, regulations or court or governmental
orders, or (iii) failures to obtain required consents, approvals or authorizations from, or make
required registrations, declarations or filings with, governmental authorities. Our opinion,
inasmuch as it is addressed to you, is not to be quoted in whole or in part or otherwise referred to,
nor is it to be filed with any governmental agency of other person without prior consent of this law
firm. Other than you, the proposed seller, and the Company, no one else is entitled to rely on this
opinion.
                                       Sincerely,




                                      Elaine Dowling, Esq.
EAD/kah




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